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 6 SECURITIES AND EXCHANGE COMMISSION
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 8

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11                                UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14

15 SECURITIES AND EXCHANGE COMMISSION,                      Case No. 20-cv-06756-MMC
16                 Plaintiff,                               STIPULATION AND [PROPOSED] ORDER
                                                            TO CONTINUE PRETRIAL AND TRIAL
17          v.                                              DATES +($5,1*'$7(6
18 LEWIS I. WALLACH,
                                                            3UHKHDULQJ
19                 Defendant.                               Pretrial Conference Date: November 30, 2021
                                                                    A
20                                                          Judge: Maxine M. Chesney
21

22                                             STIPULATION
23 Plaintiff Securities and Exchange Commission (“SEC”) and Defendant Lewis I. Wallach (together,

24 “the Parties”), by and through their respective counsel of record, hereby agree and stipulate as

25 follows:

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     STIPULATION AND PROPOSED ORDER                                     Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL
     DATES
          Case 3:20-cv-06756-MMC Document 35 Filed 06/16/21 Page 2 of 6



 1          WHEREAS, on January 8, 2021, the Parties submitted a Joint Case Management Statement
 2 setting forth a proposed schedule pursuant to Civil Local Rule 16-9 and Rule 26 of the Federal Rules

 3 of Civil Procedure. See Joint Case Management Statement (Dkt. No. 26);

 4          WHEREAS, on January 15, 2021, the Court entered a Minute Order (Dkt. No. 27) which set,
 5 among other things, July 9, 2021 as the discovery cutoff date, July 30, 2021 as the deadline for expert

 6 disclosures, September 10, 2021 as the expert discovery cutoff date, October 8, 2021 as the deadline

 7 for the SEC to file a Motion to Determine Amounts of Disgorgement and Civil Monetary Penalties,

 8 and December 10, 2021 as the date for a non-evidentiary hearing on the SEC’s Motion to Determine

 9 Amounts of Disgorgement and Civil Monetary Penalties;
10          WHEREAS, on February 1, 2021, the Court entered a Notice of Settlement Conference and
11 Settlement Conference Order (Dkt. No. 33) setting a settlement conference for September 17, 2021 at

12 10:00 a.m. before Magistrate Judge Donna M. Ryu;

13          WHEREAS, a related criminal case, United States v. Lewis Wallach, Case No. 3:20-cr-00365-
14 MMC, is currently pending before this Court;

15          WHEREAS, in the related criminal case, Defendant Lewis I. Wallach pled guilty to wire
16 fraud and conspiracy to commit wire fraud (U.S. v. Wallach, Case No. 3:20-cr-00365-MMC (Dkt.

17 No. 19));

18          WHEREAS, in the related criminal case, Defendant Lewis I. Wallach is scheduled to be
19 sentenced on September 22, 2021 (U.S. v. Wallach, Case No. 3:20-cr-00365-MMC (Dkt. No. 24));

20          WHEREAS, the Parties agree that Defendant Lewis I. Wallach’s sentencing in the related
21 criminal case may have a significant impact on resolution of this matter and may obviate the need for

22 a Motion to Determine Amounts of Disgorgement and Civil Monetary Penalties;

23          WHEREAS, the Parties agree that good cause exists to continue the pretrial dates, settlement
24 conference date, and date for the non-evidentiary hearing on the SEC’s Motion to Determine

25 Amounts of Disgorgement and Civil Monetary Penalties by approximately six months as follows:

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     STIPULATION AND PROPOSED ORDER                                         Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL DATES
          Case 3:20-cv-06756-MMC Document 35 Filed 06/16/21 Page 3 of 6



 1                     Event                        Current Date            Proposed New Date
 2   Discovery Cutoff                           July 9, 2021             January 14, 2022
 3   Expert Disclosure                          July 30, 2021            February 4, 2022
 4   Expert Rebuttal                            August 13, 2021          February 18, 2022
 5   Expert Discovery Cutoff                    September 10, 2021       March 18, 2022
 6
     Settlement Conference                      September 17, 2021 at    March 2022 (Parties shall
 7
                                                10:00 AM                 contact Magistrate Judge
 8
                                                                         Ryu’s Courtroom Deputy
 9
                                                                         to reschedule)
10
     Filing Deadline for SEC’s Motion to        October 8, 2021          April 15, 2022
11
     Determine Amounts of Disgorgement
12
     and Civil Monetary Penalties (“SEC’s
13
     Motion”)
14
     Opposition Deadline for SEC’s Motion       October 29, 2021         May 6, 2022
15
     Reply Deadline for SEC’s Motion            November 10, 2021        May 18, 2022
16
     Joint Statement Re Prehearing              November 23, 2021        May 31, 2022
17
     Conference on SEC’s Motion Due
18
     Prehearing Conference on SEC’s             November 30, 2021 at     June 7, 2022 at 10:00 AM
19
     Motion                                     10:00 AM
20
     Non-Evidentiary Hearing on SEC’s           December 10, 2021 at     June 17, 2022 at 9:00 AM
21
     Motion                                     9:00 AM
22

23          WHEREFORE, the Parties stipulate to, and respectfully request that the Court enter, the
24 accompanying Proposed Order, continuing the pretrial dates, settlement conference date, and date for

25 the non-evidentiary hearing on the SEC’s Motion to Determine Amounts of Disgorgement and Civil

26 Monetary Penalties by approximately six months as set forth above.

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     STIPULATION AND PROPOSED ORDER                                         Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL DATES
          Case 3:20-cv-06756-MMC Document 35 Filed 06/16/21 Page 4 of 6



 1         STIPULATED AND AGREED TO BY:
 2
           Dated: June 15, 2021                 /s/ Bernard B. Smyth
 3
                                                Bernard B. Smyth
 4                                              Attorneys for Plaintiff
                                                SECURITIES AND EXCHANGE
 5                                              COMMISSION

 6
                                                /s/ Carly Bittman
 7
                                                Carly Bittman
 8                                              Attorney for Defendant
                                                LEWIS I. WALLACH
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     STIPULATION AND PROPOSED ORDER                               Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL DATES
          Case 3:20-cv-06756-MMC Document 35 Filed 06/16/21 Page 5 of 6



 1                                         [PROPOSED] ORDER
 2         Based on the foregoing stipulation, and for good cause shown, IT IS HEREBY:
 3         ORDERED that all pretrial dates, settlement conference date, and date for the non-evidentiary
 4 hearing on the SEC’s Motion to Determine Amounts of Disgorgement and Civil Monetary Penalties

 5 are continued by approximately six months as follows:

 6                     Event                       Current Date            Proposed New Date
 7   Discovery Cutoff                          July 9, 2021             January 14, 2022
 8   Expert Disclosure                         July 30, 2021            February 4, 2022
 9   Expert Rebuttal                           August 13, 2021          February 18, 2022
10   Expert Discovery Cutoff                   September 10, 2021       March 18, 2022
11
     Settlement Conference                     September 17, 2021 at    March 2022 (Parties shall
12
                                               10:00 AM                 contact Magistrate Judge
13
                                                                        Ryu’s Courtroom Deputy
14
                                                                        to reschedule)
15
     Filing Deadline for SEC’s Motion to       October 8, 2021          April 15, 2022
16
     Determine Amounts of Disgorgement
17
     and Civil Monetary Penalties (“SEC’s
18
     Motion”)
19
     Opposition Deadline for SEC’s Motion      October 29, 2021         May 6, 2022
20
     Reply Deadline for SEC’s Motion           November 10, 2021        May 18, 2022
21
     Joint Statement Re Prehearing             November 23, 2021        May 31, 2022
22
     Conference on SEC’s Motion Due
23
     Prehearing Conference on SEC’s            November 30, 2021 at     June 7, 2022 at 10:00 AM
24                                                                     -XQHDW$0
     Motion                                    10:00 AM
25
     Non-Evidentiary Hearing on SEC’s          December 10, 2021 at     June 17, 2022 at 9:00 AM
26                                                                      -XQHDW$0
     Motion                                    9:00 AM
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     STIPULATION AND PROPOSED ORDER                                        Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL DATES
          Case 3:20-cv-06756-MMC Document 35 Filed 06/16/21 Page 6 of 6



 1         FURTHER ORDERED that, by July 9, 2021, the Parties shall contact Magistrate Judge Ryu’s
 2 Courtroom Deputy to reschedule the Parties’ settlement conference for a date in March 2022, or as

 3 soon thereafter as Magistrate Judge Ryu’s calendar allows.

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             -XQH
 6 Date: _______________, 2021
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                                                              Honoorable Maxine M. Chesneyy
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                                                                       District
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     STIPULATION AND PROPOSED ORDER                                        Case No. 20-cv-06756-MMC
     TO CONTINUE PRETRIAL AND TRIAL DATES
